UNITED STATES OF AMERICA

Case 4:22-cr-00271-Y Document 73 Filed 06/27/23 Page 1of3 PagelD 392

Vs.

DAVID EARL BOYD (1)

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

CRIMINAL NO. 4:22-CR-271-Y

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ORDER SETTING CONDITIONS OF SUPERVISED RELEASE

The defendant, while on supervised release, shall comply with the standard

conditions recommended by the U. S. Sentencing Commission at §5D1.3(c) of the

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Sentencing Commission Guidelines Manual and shall:

not commit another federal, state, or local crime;

not possess illegal controlled substances;

not possess a firearm, destructive device, or other dangerous weapon;

cooperate in the collection of DNA as directed by the probation officer,
as authorized by the Justice for All Act of 2004;

report in person to the probation office in t
defendant is released within 72 hours of releas
Federal Bureau of Prisons;

he district to which the
e from the custody of the

take notice that the mandatory drug testing condition is suspended, based
on the court's determination that the defendant poses a low risk of future
substance abuse;

comply with the requirements of the Sex Offender Registration and
Notification Act (42 U.S.C. § 16901, et seq.) as directed by the probation
officer, the Bureau of Prisons, or any state sex offender registration
agency in which the defendant resides, works, is a student, or was
convicted of a qualifying offense;

have no contact with the victim(s), including correspondence, telephone
contact, or communication through third parties except under
circumstances approved in advance by the probation officer and not enter
onto the premises, travel past, or loiter near the victims' residences,
places of employment, or other places frequented by the victims;

have no contact with minors under the age of 18, including by
correspondence, telephone, internet, electronic communication, or
communication through third parties, with the exception of the defendant's
own children. The defendant's contact with his children will be limited
to eccasions when the probation officer is informed in advance of the
defendant's intent to have that contact and the probation officer approves
it. The defendant shall not have access to or loiter near school grounds,
parks, arcades, playgrounds, amusement parks or other places where
children may freguently congregate, except as may be allowed upon advance
approval by the probation officer;

not use any computer other than the one the defendant is authorized to
use without prior approval from the probation officer;
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participate and comply with the requirements of the Computer and Internet
Monitoring Program, contributing to the cost of the monitoring in an
amount not to exceed $40 per month. The defendant shall consent to the
probation officer's conducting ongoing monitoring of his
computer/computers. The monitoring may include the installation of
hardware and/or software systems that allow evaluation of computer use.
The defendant shall not remove, tamper with, reverse engineer, or
circumvent the software in any way. The defendant shall only use
authorized computer systems that are compatible with the software and/or
hardware used by the Computer and Internet Monitoring Program. The
defendant shall permit the probation officer to conduct a preliminary
computer search prior to the installation of software. At the discretion
of the probation officer, the monitoring software may be disabled or
removed at any time during the term of supervision;

not use any software program or device designed to hide, alter, or delete
records and/or logs of the defendant's computer use, Internet activities,
or files stored on the defendant's computer;

submit to periodic, unannounced examinations of his computer/computers,
storage media, and/or other electronic or internet-capable devices,
performed by the probation officer at reasonable times and in a reasonable
manner based on reasonable suspicion of contraband evidence of a violation
of supervision. This may include the retrieval and copying of any
prohibited data and/or the removal of such system for the purpose of
conducting a more thorough inspection. The defendant shall provide written
authorization for release of information from the defendant's internet
service provider;

not possess, have access to, or utilize a computer or internet connection
device, including, but not limited to Xbox, PlayStation, Nintendo, or
similar device, without permission of the probation officer. This
condition requires preapproval for categories of computer or internet
access or use; it does not require separate pre-use approval every time
the defendant accesses or uses a computer or the internet;

participate in outpatient mental-health treatment services as directed by
the probation officer until successfully discharged, which services may
include prescribed medications by a licensed physician, with the defendant
contributing to the costs of services rendered (copayment) at a rate of
at least $25 per month;

neither possess nor have under his control any pornographic matter or any
matter that sexually depicts minors under the age of 18 including, but
not limited to, matter obtained through access to any computer and any
matter linked to computer access or use;

participate in sex-offender treatment services as directed by the
probation officer until successfully discharged, which services may
include psycho-physiological testing to monitor the defendant's
compliance, treatment progress, and risk to the community, contributing
to the costs of services rendered (copayment) at the rate of at least $25
per month;

pay any remaining balance of restitution in the amount of $45,000, as set
out in the Judgment; and

provide to the probation officer complete access to all business and
personal financial information.
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DEFENDANT’ S ACKNOWLEDGMENT OF RECEIPT

I acknowledge receipt of and I have retained a copy of this order setting
my conditions of rarer release. I understand them and I waive
of them in open court. I

gree to be bound by them and subject
for violation C any fe th&ém.

the reading
to revocation

   

  

 

DAVID LA , D¢fendant

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TERRY/R. MEANS
UNITED STATES DISTRICT JUDGE

Signed June 27, 2023.
